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AO 450 (SCD 04/2010) Judgment in a Civil Action
                                           UNITED STATES DISTRICT COURT
                                                      for the
                                              District of South Carolina


            Charles Nemon Vandross,
                      Petitioner                          )
                       v.                                 )      Civil Action No.      1:17-cv-02484-RMG
  Bryan Stirling, Commissioner, South Carolina            )
  Department of Corrections, and Broad River              )
             Correctional Institution,                    )
                     Respondent


                                          JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the petitioner (name)          recover from the respondent (name)            the amount of
dollars ($ ), which includes prejudgment interest at the rate of    %, plus postjudgment interest at the rate of
      %, along with costs.

’ the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
        recover costs from the petitioner (name)                      .

O other: Summary judgment is hereby entered for the respondent, Bryan Stirling, Commissioner, South
Carolina Department of Corrections, and Broad River Correctional Institution. The petitioner, Charles
Nemon Vandross, shall take nothing of the respondent and this action is dismissed with prejudice.


This action was (check one):
’ tried by a jury, the Honorable                      presiding, and the jury has rendered a verdict.

’ tried by the Honorable                    presiding, without a jury and the above decision was reached.

O decided by the Honorable Richard M. Gergel, United States District Judge, presiding, adopting the Report
and Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which
recommended granting the respondent’s motion for summary judgment.


Date: July 20, 2018                                             ROBIN L. BLUME, CLERK OF COURT


                                                                                  s/B. Goodman
                                                                           Signature of Clerk or Deputy Clerk
